Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 1 of 45




                       EXHIBIT 41
         Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 2 of 45




  Dominion’s Emergency Motion For
Protective Relief & To Disqualify Counsel
                      U.S. Dominion, Inc., et al.
                                  v.
                            Patrick Byrne
                            Case No. 1:21-cv-02131




                                 May 16, 2024

                                                                                 1
Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 3 of 45
Standard For Disqualification

      “We agree that disqualification is warranted only rarely in cases
       where there is neither a serious question as to counsel’s ability
       to act as a zealous and effective advocate for the client, see,
       e.g., Groper v. Taff, 717 F.2d at 1418; Yablonski v. UMW, 448
       F.2d 1175, nor a substantial possibility of an unfair advantage
       to the current client because of counsel's prior representation of
       the opposing party, cf. Williamsburg Wax Museum, 501
       F.Supp. 326, or prior responsibility as a government official,
       see Kessenich, 684 F.2d 88. Except in cases of truly egregious
       misconduct likely to infect future proceedings, other means less
       prejudicial to the client's interest than disqualifying the counsel
       of her choice are ordinarily available to deal with ethical
       improprieties by counsel.”

                         Koller v. Richardson-Merrell, Inc., 737 F.2d 1038, 1056 (D.C. Cir. 1984)
                                                                                                    2
                 Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 4 of 45
               Lambert’s Numerous Violations



DCRPC 3.4(c) - “A lawyer shall not knowingly disobey an obligation under the rules of a
tribunal except for an open refusal based on an assertion that no valid obligation exists.”


DCRPC 8.4(d) – “It is professional misconduct for a lawyer to engage in conduct that
seriously interferes with the administration of justice.”



Protective Order (Dkt. 46) – Paragraphs 1, 8, 11, 15, and 27




Status Quo Order (Dkt. 77) – Paragraphs 1, 3, and 8




                                                                                              3
               Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 5 of 45
                      How Did We Get Here?



1   Pre-March 15, 2024:
    Lambert’s Actions in This Matter Pre-DQ Filing




2   Post March 18, 2024:
    Lambert’s Actions in This Matter Post-Status Quo Order




3   Lambert’s History in Other Matters.



                                                                                       4
                            Pre-March 15, 2024:
                                 Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 6 of 45


               Lambert’s Actions in This Matter Pre-DQ Filing
   March, 2024:
   Lambert gives Sherriff Dar Leaf
   access to Dominion’s documents.
   - 3/18/24 Transcript at 23:17-20



March




                                                                                                         5
                            Pre-March 15, 2024:
                                 Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 7 of 45


               Lambert’s Actions in This Matter Pre-DQ Filing
   March, 2024:                                March 8, 2024:
   Lambert gives Sherriff Dar Leaf             Lambert publicly files Dominion’s
   access to Dominion’s documents.             documents in People of the State of
   - 3/18/24 Transcript at 23:17-20            Michigan vs. Stefanie Lynn Lambert Junttila.
                                               - Ex. 7


March




                                                                                                         6
                            Pre-March 15, 2024:
                                 Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 8 of 45


               Lambert’s Actions in This Matter Pre-DQ Filing
   March, 2024:                                March 8, 2024:                                            March 12, 2024:
   Lambert gives Sherriff Dar Leaf             Lambert publicly files Dominion’s                         Lambert refuses to agree to
   access to Dominion’s documents.             documents in People of the State of                       stand down, or even provide an
   - 3/18/24 Transcript at 23:17-20            Michigan vs. Stefanie Lynn Lambert Junttila.              accounting of her breach.
                                               - Ex. 7                                                   - Ex. 2


March




                                                                                                                                          7
                   Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 9 of 45
              What Orders Did Lambert Violate?
The governing Protective Order, including, but not necessarily limited to:




  Dkt. 46; Ex. 6
                                                                                           8
                   Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 10 of 45
              What Orders Did Lambert Violate?
The governing Protective Order, including, but not necessarily limited to:




  Dkt. 46; Ex. 6
                                                                                            9
                   Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 11 of 45
              What Orders Did Lambert Violate?
The governing Protective Order, including, but not necessarily limited to:




  Dkt. 46; Ex. 6
                                                                                            10
                                             March 18, 2024:
                                     Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 12 of 45


                                     Court Issues Status Quo Order
   March, 2024:            March 8, 2024:                March 12, 2024:           March 18, 2024:
   Lambert gives           Lambert publicly files        Lambert refuses to        Court issues status quo order from bench.
   Sherriff Dar Leaf       Dominion’s documents          agree to stand down,      - 3/18/24 Transcript at 55:16-24
   access to Dominion’s    in People of the State of     or even provide an
   documents.              Michigan vs. Stefanie         accounting of her
                           Lynn Lambert Juntiila.        breach.
   - 3/18/24 at 23:17-20
                           - Ex. 7                       - Ex. 2

March




                                                                                                                               11
                                             March 18, 2024:
                                     Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 13 of 45


                                     Court Issues Status Quo Order
   March, 2024:            March 8, 2024:                March 12, 2024:           March 18, 2024:
   Lambert gives           Lambert publicly files        Lambert refuses to        Court issues status quo order from bench.
   Sherriff Dar Leaf       Dominion’s documents          agree to stand down,      - 3/18/24 Transcript
   access to Dominion’s    in People of the State of     or even provide an
   documents.              Michigan vs. Stefanie         accounting of her         Court issues minute entry confirming
                           Lynn Lambert Juntiila.        breach.                   proceedings held that day
   - 3/18/24 at 23:17-20
                           - Ex. 7                       - Ex. 2                   - ECF Entry

March




                                                                                                                               12
                                             March 18, 2024:
                                     Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 14 of 45


                                     Court Issues Status Quo Order
   March, 2024:            March 8, 2024:                March 12, 2024:           March 18, 2024:                             March 19, 2024:
   Lambert gives           Lambert publicly files        Lambert refuses to        Court issues status quo order from bench.   Court issues
   Sherriff Dar Leaf       Dominion’s documents          agree to stand down,                                                  written order
                                                                                   - 3/18/24 Transcript
   access to Dominion’s    in People of the State of     or even provide an                                                    - Dkt. 77
   documents.              Michigan vs. Stefanie         accounting of her         Court issues minute entry confirming
                           Lynn Lambert Juntiila.        breach.                   proceedings held that day
   - 3/18/24 at 23:17-20
                           - Ex. 7                       - Ex. 2                   - ECF Entry

March




                                                                                                                                                 13
                  March 18, 2024:
          Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 15 of 45


          Court Issues Status Quo Order




Dkt. 77
                                                                                   14
                  March 18, 2024:
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          Court Issues Status Quo Order



                                                  VIOLATED


                                                  VIOLATED

Dkt. 77
                                                  VIOLATED
                                                                                   15
                   Post-March 18, 2024:
                                     Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 17 of 45


    Lambert Does Not Undertake Reasonable Efforts to Seal
   March, 2024:            March 8, 2024:                March 12, 2024:           March 18, 2024:                               March 19, 2024:
   Lambert gives           Lambert publicly files        Lambert refuses to        Court issues status quo order from bench.     Court issues
   Sherriff Dar Leaf       Dominion’s documents          agree to stand down,                                                    written order
                                                                                   - 3/18/24 at 55:16-24
   access to Dominion’s    in People of the State of     or even provide an                                                      - Dkt. 77
   documents.              Michigan vs. Stefanie         accounting of her         Court issues minute entry confirming
                           Lynn Lambert Juntiila.        breach.                   proceedings held that day
   - 3/18/24 at 23:17-20
                           - Ex. 7                       - Ex. 2                   - ECF Entry

March                                                                                                                                        May



                                                                                                                                     May 15, 2024:
                                                                                                                                    No outreach or
                                                                                                                               similar effort to seal
                                                                                                                                        Dominion’s
                                                                                                                                       documents.
                                                                                                                               - 5/15/24 email from
                                                                                                                                 Muskegon County
                                                                                                                                Prosecutor’s Office




                                                                                                                                                        16
                                Post-March 18, 2024:
                                     Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 18 of 45


                      Lambert Ignores Court’s Deadline to Verify
   March, 2024:            March 8, 2024:                March 12, 2024:           March 18, 2024:                              March 19, 2024:
   Lambert gives           Lambert publicly files        Lambert refuses to        Court issues status quo order from bench.    Court issues
   Sherriff Dar Leaf       Dominion’s documents          agree to stand down,                                                   written order
                                                                                   - 3/18/24 at 55:16-24
   access to Dominion’s    in People of the State of     or even provide an                                                     - Dkt. 77
   documents.              Michigan vs. Stefanie         accounting of her         Court issues minute entry confirming
                           Lynn Lambert Juntiila.        breach.                   proceedings held that day
   - 3/18/24 at 23:17-20
                           - Ex. 7                       - Ex. 2                   - ECF Entry

March

                                                                                                                         March 21, 2024:
                                                                                              Time by which Court ordered Lambert and
                                                                                                    Byrne to provide written affirmation.
                                                                                                                                - Dkt. 78




                                                                                                                                                  17
                                Post-March 18, 2024:
                                  Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 19 of 45


                      Lambert Ignores Court’s Deadline to Verify
   March, 2024:            March 8, 2024:              March 12, 2024:          March 18, 2024:                                March 19, 2024:
   Lambert gives           Lambert publicly files      Lambert refuses to       Court issues status quo order from bench.      Court issues
   Sherriff Dar Leaf       Dominion’s documents        agree to stand down,                                                    written order
                                                                                - 3/18/24 at 55:16-24
   access to Dominion’s    in People of the State of   or even provide an                                                      - Dkt. 77
   documents.              Michigan vs. Stefanie       accounting of her        Court issues minute entry confirming
                           Lynn Lambert Juntiila. -    breach.                  proceedings held that day
   - 3/18/24 at 23:17-20
                           - Ex. 7                                              - ECF Entry
                                                       - Ex. 26

March

                                                                                                                       March 21, 2024:
                                                                                           Time by which Court ordered Lambert and
                                                                                                 Byrne to provide written affirmation.
                                                                                                                               - Dkt. 78




                                                                                                                            March 22, 2024:
                                                                                                        Byrne files request for, among other
                                                                                                          things, “an extension of time until
                                                                                                        5:00 pm March 26th to consult with
                                                                                                          undersigned and sign and submit
                                                                                                            confirmation of compliance with
                                                                                                           the Court’s March 19, 2024 order.”
                                                                                                                                     - Dkt. 81

                                                                                                                                                 18
                             Post-March 18, 2024:
                                      Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 20 of 45


                   Lambert Ignores Court’s Deadline to Verify
  March 18                             March 19                       March 20                      March 21        March 22

              3/18/2024                                                                 3/20/2024
              7:23pm                                                                    7:07pm

                                                     3/19/2024
                                                     10:15am                                                   3/22/2024
                                                                                                               8:25am
                                                                                                                               3/22/2024
                                                                                                                               10:32pm



                                                                                        3/22/2024
                                                       3/19/2024                        2:37am
                                                       4:46pm




                                           3/19/2024
                                           5:00pm (approx.)

“There was no leak of data. I provided evidence of criminal acts to
law enforcement. The Dominion file contained evidence of perjury
by John Poulos, Dominion CEO, Honest Service Fraud, Wire
Fraud, etc. I’m on my way back to Michigan, and I look forward to
truth and transparency for everyone.”
                                                                                                                                           19
                            Post-March 18, 2024:
                                           Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 21 of 45


             Lambert Discusses/Promotes the Leaked Documents
    March 18, 2024:           March 19, 2024:
Court issues minute           Lambert discusses
  entry confirming            leaked documents
  status quo order.           in statement to
                              ABC News
         - ECF Entry




 March




https://abcnews.go.com/US/lawyer-election-denier-center-dominion-voting-systems-leak/story?id=108270385(March 19, 2024)
                                                                                                                          20
                      Post-March 18, 2024:Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 22 of 45


   Lambert Discusses/Promotes the Leaked Documents (cont’d)
    March 18, 2024:            March 19, 2024:      March 22, 2024:
Court issues minute            Lambert discusses    Lambert appears on Joe Oltmann
  entry confirming             leaked documents     Live, Oltmann repeatedly refers to
  status quo order.            in statement to      leaked Dominion documents and
                               ABC News             evidence of “crimes”, both in
         - ECF Entry
                                                    introduction into and during
                                                    Lambert’s appearance.


 March

                                                                              Oltmann says we have evidence from Dar Leaf and way more that
                                                                              has not been released. (42:25)

                                                                              When Oltmann starts to discuss Dar Leaf’s evidence (the Dominion
                                                                              docs), he hesitates but then says, “Stefanie, I didn't get it from you. I
                                                                              got it from [pausing] Twitter, X.” (51:52)
                                                                              Lambert does nothing to stop him.

                                                                              Lambert then tells Oltmann he should have Dar on his show to go
                                                                              through his investigation. When Oltmann asks if Dar Leaf is allowed
                                                                              to discuss his investigation and evidence, Lambert says he can go
                                                                              through whatever he wants, it’s his investigation. (57:00)

https://www.everand.com/listen/podcast/
                                                                                                                                                          21
                             Post-March 18, 2024:
                                              Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 23 of 45


              Lambert Discusses/Promotes the Leaked Documents
    March 18, 2024:              March 19, 2024:          March 22, 2024:                             April 7, 2024:
Court issues minute              Lambert discusses        Lambert appears on Joe Oltmann              Lambert gives interview on “The Joe Hoft Show” on FrankSpeech
  entry confirming               leaked documents         Live, Oltmann repeatedly refers to          (Lindell’s platform), in an episode titled “Surviving Attacks for
  status quo order.              in statement to          leaked Dominion documents and               Standing Up for Fair Elections with Stefanie Lambert.” Discusses
                                 ABC News                 evidence of “crimes”, both in               her leak of Dominion’s material at several points. Lambert also
          - ECF Entry
                                                          introduction into and during                falsely claims Dominion’s attorneys had a “security officer”
                                                          Lambert’s appearance.                       present false claims to this Court to get her arrested.


 March                                                                                    April


                                                                         “I was immediately able to spot a number of different criminal pieces of
                                                                          evidence . . . a lot, ok? Not just one document or two.” (54:45)
                                                                         Discussing Poulos’ alleged perjury to the MI Senate: “We have the raw
                                                                         evidence refuting each and every one of Poulos' claims.” (41:03)
                                                                         Discussing Fox’s “sham” settlement with Dominion: “I don't know why
                                                                         Fox would settle when I’m looking at the files I’m looking at.” (43:07)

                                                                          She makes several claims that Dominion set up her arrest to silence her.


https://frankspeech.com/video/surviving-attacks-for-standing-up-for-fair-elections-with-stefanie-lambert
                                                                                                                                                                          22
              Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 24 of 45
    Lambert’s Misrepresentations to This Court
Whether Lambert made best efforts to take down the documents she filed publicly?




                                               vs




                                – Dkt. 84



                                                                                       23
                            Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 25 of 45
                Lambert’s Misrepresentations to This Court
                              Who was given access to the leaked documents?


Lambert discloses only Stephanie Smith and Russell                  To our knowledge, no discovery material has been shared by anyone at
Newman as individuals on her team who have                          McGlinchey with anyone else outside of the McGlinchey team, apart from attorneys
                                                   vs
access to the relevant materials.                                   Stefanie Lambert and Michael Smith, who both obtained login credentials to the
                                                                    Incoming Productions Workspace as counsel for Mr. Byrne, and both signed
             – 3/18/24 Hearing Transcript at 35:4-36:17             Undertakings on the same date of December 12, 2023.

                                                                                                                                        – Dkt. 85

                                  Whose idea was it to leak the documents?



                                                                                        “Stefanie released that stuff to Sheriff Dar
                                                             vs                          Leaf. It wasn’t at my instruction. She felt a
                                                                                         need to do it.”
                                                       – Ex. 2
                                                                    – Byrne’s video uploaded April 2, 2024: Transcript at 29:10-12



                                                                                                                                                       24
  Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 26 of 45
      What We Still Don’t Know


1. When Lambert began representing Byrne?


2. When Lambert gave Sherriff Dar Leaf access and to what?


3. Coordination/assistance between Lambert and Sherriff Dar Leaf?


4. Coordination/assistance between Byrne and Sherriff Dar Leaf?


5. Who else Lambert gave access too?



                                                                           25
               What We Do Know:
          Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 27 of 45


     Lambert Defends Her Actions/No Remorse




Ex. 26
                                                                                   26
                        What We Do Know:
                        Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 28 of 45


               Byrne Defends His Actions/No Remorse



                                                And I’m telling you here, and Judge, with all due respect, you
                                                decide what you want. We’re giving you the honor this time of
                                                going through the steps that Stefanie evidently was supposed to
                                                do last time. But there’s no chance in hell I'm not going to make
                                                this public. I mean, I'm giving -- so you can throw me in prison
                                                as long as you want. I’m going to make this stuff public. So I
                                                hope you make the right decision, but I'm not going to keep this
                                                quiet. I’m going to give you time to make the right decision.
                                                And if you make the wrong decision, I’m just going to do the
                                                right thing anyway and you throw me in jail. Fuck you.

Byrne video uploaded April 2, 2024
       Transcript at 30:17-7



                                                                                                                    27
Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 29 of 45
Byrne Has Publicized His Intent




                                                                         28
         Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 30 of 45
         Byrne Has Publicized His Intent




Ex. 34
                                                                                  29
                        Post-March 18, 2024:
                          Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 31 of 45


                Lambert’s Refusal to Control Her Client




- 3/18/24 Transcript at 24:6-11
                                                                                                   30
                                                   Post-March 18, 2024:
                                        Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 32 of 45


                                                     Byrne’s Activity
   March 18, 2024:
Court issues minute
  entry confirming
  status quo order.
        - ECF Entry




 March                                       April                                                                        May

     March 18, 2024                                                                                      April 24, 2024



      March 19, 2024                                            April 8, 2024                    April 20, 2024
                                                                                                                           May 8, 2024


        March 20, 2024                                  April 6, 2024                   April 17, 2024

                                                                                                                                May 9, 2024

             March 22, 2024                       April 3, 2024                      April 16, 2024

                                                                                                                                    May 12, 2024
                       March 27, 2024           April 2, 2024                   April 14, 2024


                                                                                                                                                   31
                                 Post-March 18, 2024:
                      Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 33 of 45


                                   Byrne’s Activity
   March 18, 2024:
Court issues minute
  entry confirming
  status quo order.
        - ECF Entry




 March                     April                                                               May

     March 18, 2024




                                                                                                     32
                                                   Post-March 18, 2024:
                                        Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 34 of 45


                                                     Byrne’s Activity
   March 18, 2024:
Court issues minute
  entry confirming
  status quo order.
        - ECF Entry




 March                                       April                                                               May

     March 18, 2024



      March 19, 2024



        March 20, 2024



             March 22, 2024                       April 3, 2024



                       March 27, 2024           April 2, 2024


                                                                                                                       33
                                                   Post-March 18, 2024:
                                        Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 35 of 45


                                                     Byrne’s Activity
   March 18, 2024:
Court issues minute
  entry confirming
  status quo order.
        - ECF Entry




 March                                       April                                                                        May

     March 18, 2024                                                                                      April 24, 2024



      March 19, 2024                                            April 8, 2024                    April 20, 2024
                                                                                                                           May 8, 2024


        March 20, 2024                                  April 6, 2024                   April 17, 2024

                                                                                                                                May 9, 2024

             March 22, 2024                       April 3, 2024                      April 16, 2024

                                                                                                                                    May 12, 2024
                       March 27, 2024           April 2, 2024                   April 14, 2024


                                                                                                                                                   34
              Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 36 of 45
Renewed Threats to Dominion/Trust in Elections




                                                                                       Ex. 39




      Ex. 1                                                                            Ex. 40
                                                                                                35
                    Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 37 of 45
               What Orders Did Lambert Violate?
 The governing Protective Order, including, but not necessarily limited to:


                                                          • Paragraph (1)

                                                          • Paragraph (8)


VIOLATED                                                  • Paragraph (11)

                                                          • Paragraph (15)

                                                          • Paragraph (27)


   Dkt. 46; Ex. 6
                                                                                             36
            Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 38 of 45
          What Orders Did Lambert Violate?
The Status Quo Order, including, but not necessarily limited to:




                                                    VIOLATED


                                                    VIOLATED

Dkt. 77
                                                    VIOLATED
                                                                                     37
              Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 39 of 45
    Lambert’s Misrepresentations to This Court
Whether Lambert made best efforts to take down the documents she filed publicly?




                                               vs




                                – Dkt. 84



                                                                                       38
                        Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 40 of 45
               Lambert’s Refusal to Control Her Client




                                                And I’m telling you here, and Judge, with all due respect, you
                                                decide what you want. We’re giving you the honor this time of
                                                going through the steps that Stefanie evidently was supposed to
                                                do last time. But there’s no chance in hell I'm not going to make
                                                this public. I mean, I'm giving -- so you can throw me in prison
                                                as long as you want. I’m going to make this stuff public. So I
                                                hope you make the right decision, but I'm not going to keep this
                                                quiet. I’m going to give you time to make the right decision.
                                                And if you make the wrong decision, I’m just going to do the
                                                right thing anyway and you throw me in jail. Fuck you.

Byrne video uploaded April 2, 2024
       Transcript at 30:17-7



                                                                                                                    39
                 Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 41 of 45
Lesser Sanctions Will Not Protect the Integrity of This Litigation

                        Disqualification should be granted only in exceptional cases
                        because “less prejudicial” means are “ordinarily available to
                        deal with ethical improprieties by counsel.”
                                                                                               Koller, 737 F.2d at 1056



                            Less prejudicial means include:

                        “[T]he Court may issue a formal reprimand or, in more serious
                        cases, a contempt citation either during or after the proceedings;
                        it may also refer possible ethical improprieties to the
                        disciplinary bodies of the local bar or, in the case of attorneys
                        admitted pro hac vice, to the bar of the attorney’s home state.”

                                                                                          Koller, 737 F.2d at 1056 n. 49

                                                                                                                           40
                 Case 1:21-cv-02131-CJN-MAU Document 102-1 Filed 05/17/24 Page 42 of 45
Lesser Sanctions Will Not Protect the Integrity of This Litigation

                        Referred Lambert for disciplinary review in Michigan for role in
                PA      misconduct involving repeated protective order violations in a
                        Pennsylvania case.
                                              Cnty. of Fulton v. Sec’y of Commonwealth, 292 A.3d 974, 1019 (Pa. 2023).


                        District Court of Georgia finds that Lambert directed the transmission
                        of a disc drive with forensic material. Copied at the Coffee County
                GA      Elections Office—which uses Dominion Voting equipment and
                        software—to a private investigator in her employ, compromising that
                        county’s’ election equipment and data.
                            Curling v. Raffensperger, No. 1:17-CV-2989-AT, 2023 WL 7463462 (N.D. Ga. Nov. 10, 2023).


                        Reprimanded and referred her for sanctions for “disseminat[ing]
                MI      allegations of fraud” by Dominion “unsupported by law or fact.”
                             King v.Whitmer, 556 F. Supp. 3d 680, 688 (E.D. Mich. 2021),aff’d in part, rev’d in part, 71
                                    F.4th 511 (6th Cir. 2023) and aff’d in part, rev’d in part, 71 F.4th 511 (6th Cir. 2023).
                                                                                                                                41
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All communications with / support to Dar Leaf and associates




       All communications with anyone re this issue



  All documents showing any material support provided to
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